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Exhibit 10
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RESPONSE AND FINAL PROPOSAL OF ROCON, INC.

ROCON, Inc., (ROCON), respectfully submits this Final Offer and Response to
BP Exploration & Production, Inc.’s, (BP), Initial Offer with regard to Claim No. 1779.
This appeal is solely based on issues addressed in the Court’s Orders of March 5, April 5,
and April 9. ROCON specifically disagrees with BP’s arguments regarding the
“Matching” and “Smoothing” issues.

ROCON’s adopts its prior facts and arguments as presented in its Initial Offer and
Supporting Brief. ROCON also directs the Appeal Panelist to footnote 1 of BP’s Initial
Brief which acknowledges that the issues presented by BP in its Appeal are “governed by
the Court’s Orders of March 5, April 5 and April 9” and therefore should be denied.

CONCLUSION

For the reasons stated herein and in its prior brief, ROCON asks the Appeal
Panelist to issue a finding that the basis of BP’s Appeal is unfounded, that ROCON has
complied with the terms of the Settlement Agreement, and that a Compensation Amount
of $142,576.07 with a RTP Multiplier of 0.25 is the appropriate award. Such a result is
in keeping with the terms, methods and formulae established by the Settlement
Agreement. ROCON further requests that the Appeal Panel confirm that the
reimbursable accounting support determined by the Claim Administrator is appropriate.

The Award granted by the Claim Administrator should be upheld.

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s/E. J. Saad
E. J. Saad

s/Matthew Andrews

Matthew I. D. Andrews

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CERTIFICATE OF SERVICE

I hereby certify that a copy of the above and foregoing Brief has been served on

the following named persons by electronic filing on this 20th day of May, 2013:

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